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                                                                                                  United States Bankruptcy Court
                                                                                                      Southern District of Texas

                                                                                                         ENTERED
                       IN THE UNITED STATES BANKRUPTCY COURT                                          February 19, 2025
                         FOR THE SOUTHERN DISTRICT OF TEXAS                                           Nathan Ochsner, Clerk
                                  HOUSTON DIVISION


In re:                                                               Chapter 11

WELLPATH HOLDINGS, INC., et al., 1                                   Case No. 24-90533 (ARP)


                                       Debtors.                      (Jointly Administered)


                           STIPULATION AND AGREED ORDER
                        REGARDING THE ALLEN LIFT STAY MOTION

         The above-captioned debtors and debtors in possession (collectively, the “Debtors”), Cobb

County, Georgia, including the employees thereof (the “County”), the Cobb County Sheriff,

including the employees thereof (the “Sheriff,” and together with the County collectively,

the “Cobb County Parties”), and Scott Allen, as Administrator of the Estate of Brady Allen and

individually as father of Brady Allen, and Karen Allen, individually as mother of Brady Allen

(the “Movants,” and together with the Debtors and the Cobb County Parties, the “Parties”) hereby

enter into this stipulation and agreed order (this “Stipulation and Agreed Order”) as follows:

         WHEREAS, on May 17, 2023, the Movants brought suit against Debtor Wellpath, LLC

(“Wellpath”), certain Wellpath employees, and certain employees of the Sheriff (collectively,

the “Defendants”) in Allen et al. v. Owens et al., Case No. 1:23-cv-02240 (the “Lawsuit”) in the

United States District Court for the Northern District of Georgia (the “District Court”);

         WHEREAS, in the Lawsuit, the Movants assert certain claims and causes of action against

the Defendants related to the death of Brady Allen at the Cobb County Adult Detention Center;



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    A complete list of the Debtors (as defined below) in these chapter 11 cases may be obtained on the website of the
    Debtors’ claims and noticing agent at https://dm.epiq11.com/Wellpath. The Debtors’ service address for these
    chapter 11 cases is 3340 Perimeter Hill Drive, Nashville, Tennessee 37211.
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       WHEREAS, the Defendants dispute any and all liability with regard to all of the claims or

causes of action asserted by the Movants;

       WHEREAS, on November 11, 2024 (the “Petition Date”), the Debtors filed voluntary

petitions for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)

in the United States Bankruptcy Court for the Southern District of Texas (the “Court”);

       WHEREAS, on November 12, 2024, the Debtors filed the Debtors’ Emergency Motion for

Entry of Interim and Final Orders to Enforce the Automatic Stay or in the Alternative Extend the

Automatic Stay to Non-Debtor Defendants [Docket No. 17] (the “Stay Extension Motion”) seeking

extension of the automatic stay imposed by section 362(a) of the Bankruptcy Code to Non-Debtor

Defendants (as defined in the Stay Extension Motion), and the Court entered the Amended Interim

Order Enforcing the Automatic Stay [Docket No. 69] (the “Stay Extension Order”) staying all

Lawsuits (as defined in the Stay Extension Motion) in their entirety, including claims against the

Non-Debtor Defendants, on an interim basis;

       WHEREAS, on January 14, 2025, the Court entered the Stipulated and Agreed Amended

Order (I) Enforcing the Automatic Stay on a Final Basis with Respect to Certain Actions,

(II) Enforcing the Automatic Stay on an Interim Basis with Respect to Certain Actions,

(III) Extending the Automatic Stay on an Interim Basis to Certain Actions Against Non-Debtors,

(IV) Setting a Final Hearing for the Interim Relief Granted Herein, and (V) Granting Related

Relief [Docket No. 962] (the “Second Stay Extension Order”);

       WHEREAS, on January 16, 2025, the Movants filed the Motion for Relief from Automatic

Stay to Proceed with Litigation [Docket No. 990] (the “Lift Stay Motion”) seeking to lift the

automatic stay with respect to the Defendants to continue the Lawsuit;




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        WHEREAS, on February 11, 2025, the Cobb County Parties filed the Objection of Cobb

County, Georgia, and Cobb County Sheriff to Motion of Scott Allen and Karen Allen for Relief

from Automatic Stay [Docket No. 1326] (the “Cobb County Objection”); and

        WHEREAS, on February 11, 2025, the Debtors filed the Debtors’ Second Omnibus

Objection to Motions for Relief from the Automatic Stay [Docket No. 1336] objecting to, among

other things, the relief sought in the Lift Stay Motion.

        NOW, THEREFORE, IT IS STIPULATED AND AGREED:

        1.      The Parties agree that the automatic stay imposed by section 362(a) of the

Bankruptcy Code and extended to Non-Debtor Defendants in the Lawsuit pursuant to the Second

Stay Extension Order is modified solely to allow the District Court to rule on the motions to

dismiss at Docket Nos. 91 and 92 (together, the “Motions to Dismiss”) in the Lawsuit; provided,

however, that, if the District Court determines that any discovery is required in order to rule on the

Motions to Dismiss, any such discovery will be subject to the automatic stay as set forth in the

Second Stay Extension Order.

        2.      Except as for ruling on the Motions to Dismiss, the Second Stay Extension Order

remains a fully enforceable order, the Lawsuit is otherwise subject to the automatic stay, and the

stay’s application to the Debtor and all other Non-Debtor Defendants (as defined in the Stay

Extension Order) in the Lawsuit, including the Cobb County Parties, shall remain in full force and

effect at this time.

        3.      Entry of this Stipulation and Agreed Order shall resolve the Lift Stay Motion and

the Cobb County Objection, and any other relief sought in the Lift Stay Motion or the Cobb County

Objection, as applicable, shall be deemed denied as moot.




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       4.     This Court retains exclusive jurisdiction over any matter arising from or related to

the implementation, interpretation, and enforcement of this Stipulation and Agreed Order.

Dated: __________, 2025
Signed:
Houston,February
          Texas 19, 2025

                                                    _____________________________
                                            UNITED STATES   BANKRUPTCY
                                                    Alfredo R Pérez      JUDGE
                                                       United States Bankruptcy Judge




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STIPULATED AND AGREED TO THIS 17TH DAY OF FEBRUARY, 2025:

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